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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      PANAMA CITY DIVISION

UNITED STATES OF AMERICA

v.                                            Case Nos. 5:05cr45-MW/GRJ-3
                                                        5:16cv216-MW/GRJ
RODDERICK TRINARD DAVIS,

          Defendant/Petitioner,
___________________________/

                          ORDER ACCEPTING
                     REPORT AND RECOMMENDATION

       This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation, ECF No. 450, and has also reviewed de novo Petitioner’s

objections to the report and recommendation, ECF No. 452. Accordingly,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted, over Petitioner’s

objections, as this Court’s opinion.       The Clerk shall enter judgment stating,

“Petitioner’s request for § 2255 relief, ECF No. 449, is DENIED. The Clerk is

directed to recharacterize Petitioner’s motion as a request for relief under 18 U.S.C.

3582. As such, Petitioner’s recharacterized request for relief pursuant to 18 U.S.C.




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§ 3582 is DENIED. A certificate of appealability is DENIED.” The Clerk shall

close the file.

       SO ORDERED on August 11, 2016.

                                   s/Mark E. Walker             ____
                                   United States District Judge




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